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                     EXHIBIT 1
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1                      UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF DELAWARE
2
                                     .          Chapter 11
3    IN RE:                          .
                                     .          Case No. 20-10343 (LSS)
4
     BOY SCOUTS OF AMERICA AND       .
5    DELAWARE BSA, LLC,              .
                                     .          Courtroom No. 2
6                                    .          824 North Market Street
                                     .          Wilmington, Delaware 19801
7                                    .
                      Debtors.       .          Friday, November 12, 2021
8    . . . . . . . . . . . . . . . . .          10:00 A.M.

9                     TRANSCRIPT OF OMNIBUS HEARING
             BEFORE THE HONORABLE LAURIE SELBER SILVERSTEIN
10                   UNITED STATES BANKRUPTCY JUDGE
11
     APPEARANCES:
12
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1    is the appropriate remedial relief at this point in this

2    proceeding before we get to Wednesday.           That letter is not an

3    attorney-client communication between Rothweiler and the

4    clients or Mr. Kosnoff and the clients; it's an official

5    communication from the TCC, from their official email address

6    conveying the message in the letter that we submitted to the

7    Court.

8               Thank you, Your Honor.

9               THE COURT:     Thank you.

10              Ms. Grassgreen?

11         (No verbal response)

12              THE COURT:     You're muted, Ms. Grassgreen.

13              MS. GRASSGREEN:         Thank you.    I'm sorry, Your Honor.

14   It's still early here on the West Coast.

15              Your Honor, just briefly, we did absolutely say in

16   the letter and we -- and wanted to (indiscernible) up front

17   and we're happy to move that up front that the forwarding --

18   the distribution of the letter was not an endorsement by the

19   TCC of the contents of those documents.              I think that is the

20   point that we just heard Mr. Molton say.              That's the point

21   that you brought up.     And I think that is the central point.

22              The other conclusions that are going to be for

23   another day -- and, again, we've heard your preliminary views

24   on it and we know what we're facing -- that's different to

25   raise those issues.     And we're not suggesting that anyone get
